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JACKSONVILLE DIVISION H,DDLE D!brmcr 'UF _Lrl,mdm

J.-`» .CKSOHv/iLLE EU."STI`(lCT
TAJUANA BRONSON,
Plaimiff, cAsE No.; 5',\Lg-c\/' LeLa°\D'» B-WBB
-Vs-

BLUES'I`EM BRANDS, INC., d/b/a

 

FINGERHUT,
Defendant.
/
§QI\M
l. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla.
Stat. §559.55 et seq. (“FCCPA”).
INTRODUCTION
2. The TCPA was enacted to prevent companies like BLUESTEM
BRANDS, INC., d/b/a FINGERHUT from invading American citizens’ privacy and
prevent abusive “robo-calls.”
3. “'l`he TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs. LLC, -US--, 132

 

S.Ct. 740, 745, 181 L.Ed.2d 881 (2012).
4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

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rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991) Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osarz'o v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11‘h Cir.
2014).

5. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 21 5,000 TCPA complaints in 2014."
https://www.fcc.gov/docurnent/fact-sheet~consumer-protection-proposal.

JURISDICTION AND VENUE

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank. F.S.B., 746 F.3d 1242, 1249 (l lth Cir. 2014).

8. The alleged violations described herein occurred in Duval County,

Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. § 139l(b)(2),

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as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.
FACTUAL ALLEGATIONS

9. Plaintif`t` is a natural person, and citizen of the State of Florida, residing in
Jacksonville, Duval County, Florida.

10. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (l lth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l llll
Cir. 2014).

l l. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

12. Defendant is a corporation formed in Delaware and conducting business in
the state of Florida.

13. The debt that is the subject matter of this complaint is a “consumer debt”
as defined by Florida Statute § 559.55(6).

l4. Defendant is a “creditor” as defined in Florida Statute § 559.55(5).

15. Plaintiff is the regular user and carrier of the cellular telephone number at
issue, (904) ***-4941, and was the called party and recipient of Defendant’s hereinafter
described calls.

l6. In or about June of 2015, Plaintiff began receiving calls to her
aforementioned cellular telephone from Defendant seeking to recover an alleged debt.

l7. Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following phone number: (866)

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836-8987, and when those numbers are called, a pre-recorded message answers “Thank
you for calling Fingerhut. Para Espar`iol, oprima el dos.”

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff`s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an
autodialer because of the vast number of calls she received and because when she
answered a call from the Defendant she would hear and automated message informing
the Plaintiff to hold the line for the next available representative before a live
agent/representative would come on the line.

19. Furthermore, each of the calls at issue were placed by the Defendant using
a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

20. None of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

2l. Defendant attempted to collect a debt from the Plaintiff by this campaign
of telephone calls.

22. On or about July 9, 2015, due to the ceaseless barrage of automated calls
li‘om Defendant, Plaintiff answered a call from the Defendant, met with an automated
message informing her to hold for the next available representative, held the line, was

eventually connected to a live agent/representative of Defendant, and stated that she

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returned the product for which she was being charged, disputed the debt, and demanded
that the Defendant cease placing calls to her aforementioned cellular telephone number.

23. During the aforementioned conversation on or about July 9, 2015 with
Defendant’s agent/representative, Plaintiff expressly revoked any express consent
Defendant may have had for placement of telephone calls to Plaintist aforementioned
cellular telephone number by the use of an automatic telephone dialing system or a pre-
recorded or artificial voice.

24. Each subsequent call the Defendant made to the Plaintiff"s aforementioned
cellular telephone number was done so without the “express permission” of the Plaintiff`.

25. Each subsequent call the Defendant made to the Plaintiff’s aforementioned
cellular telephone number was knowing and willful.

26. Again on or about August 19, 2015, due to continued calls to her
aforementioned cellular telephone number from the Defendant, Plaintiff again answered a
call from Defendant, met with an automated message, held the line and eventually was
connected to a live agent/representative of Defendant, and informed an
agent/representative of Defendant that she had previously informed that she returned the
items, that she does not owe the debt, and again demanded that Defendant cease placing
calls to her aforementioned cellular telephone number.

27. Despite actual knowledge of their wrongdoing, the Defendant continued
the campaign of abuse, calling the Plaintiff despite not having her express permission to

call her aforementioned cellular telephone number.

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28. On at least three (3) separate occasions, Plaintiff has answered a call from
Defendant, held the line to be connected to a live representative, and demanded that
Defendant cease placing calls to his aforementioned cellular telephone number.

29. Each of the Plaintiff’s requests for the harassment to end were ignored.

30. From about March of 2015 through the filing of this Complaint, Defendant
has placed approximately five hundred (500) calls to Plaintiff’s aforementioned cellular
telephone number.

31. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling several times in the same hour, during one day, and on back to back
days, With such frequency as can reasonably be expected to harass.

32. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
anxiety, distress and aggravation

33. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular
telephone in this case, with no way for the consumer, or Defendant, to remove the
number.

34. Defendant’s corporate policy and procedures are structured as to continue
to call individuals like the Plaintiff, despite these individuals revoking any consent the

Defendant may have believed they had.

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35. Defendant’s corporate policy is structured as to continue to call
individuals like the Plaintiff`, despite these individuals demanding that the Defendant stop
calling them.

36. Defendant has numerous other federal lawsuits pending against them
alleging similar violations as stated in this complaint

37. Defendant violated the TCPA with respect to the Plaintif`f.

38. Defendant willfully and/or knowingly violated the TCPA with respect to
the Plaintiff.

_QM
(Violation of the TCPA)

39. Plaintiff incorporates Paragraphs one (l) through thirty-eight (38).

40. Defendant willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone
communication from Defendant, and wished for the calls to stop.

41. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff s prior express consent in violation of federal law, including 47
U.s.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, treble damages, punitive

damages, actual damages and any other such relief the court may deem just and proper.

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COUNT Il
(Violation of the FCCPA)

42. Plaintiff incorporates Paragraphs one (l) through thirty-eight (38).

43. At all times relevant to this action Defendant is subject to and must abide
by the law of Florida, including Florida Statute § 559.72.

44. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of her or his family with such frequency
as can reasonably be expected to harass the debtor or her or his family.

45. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in conduct which can reasonably be expected to abuse or harass the debtor or any
member of her or his family.

46. Defendant’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

Respectfully Submitted,
s/Shaughn C. Hill
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